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                                      EXHIBIT 1-C
                                  TOTAL HOURS BILLED

Timekeeper             2016       2017    2018 2019      2020     2021    2022 2023       Total
Prof. Helen Alvaré            0      0       0      0       0         0     0      6.25      6.25
(1984)
Ed Gleason (1979)             0     0.3      0      0       0       4.5     0         0       4.8
Deion Kathawa                 0      0       0      0    20.3         0     0         0     20.3
Eric Kniffin (2003)     531.3     196.3     3.3     0       0         0     0         0    730.9
Matthew Mellema           42        1.2      0      0       0         0     0         0     43.2
(2013)
Andrew Nussbaum               0      0       0      0       0        5.3 17.35    78.25    100.9
(2016)
Martin Nussbaum        209.3        75      2.7   3.25    51.1    156.8   23.3    170.7   692.15
(1985)
Ian Speir (2011)        141.6      14.5     0.4   4.2    129.5 249.8      30.6    28.15   598.75

Alec Afarian (2023)           0      0       0      0       0         0     0     32.40     32.4

Paralegals (various)    37.4        5.9      0     3.5     5.7      9.6    1.9    50.35    114.35

Total                  961.6 293.2          6.4 10.95 206.6         426 73.15     366.1     2344
